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Case 2:12-cv-06388-DDP-RZ Document1 Filed 07/25/12 Page1of13 Page ID #:4

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Los Angeles, CA 90020

Tel: (213) 387-8400
Fax: (213) 381-8555 | |

Attorneys for Plaintiff |

IN THE UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Dppl P24)

SHARON SMITH, an individual, CASE NO.
Plaintiff, COMPLAINT FOR
DECLARATORY, INJUNCTIVE
VS. RELIEF, AND DAMAGES FOR:
HAROLD POWDRILL and ZELMA 1. The Fair Housing Amendments Act
POWDRILL, as individuals, of 1988, 42 U.S.C. §§ 3601 ef seq.;
2. California Fair Employment and
Defendants. Housing Act, Cal. Gov’t Code §

12955 et seq.;

3. Unruh Civil Rights Act (Cal. Civil
Code § 51)

4. Disabled Persons Act (Cal. Civil
Code § 54)

5. Negligence

JURY TRIAL DEMANDED

 

I. INTRODUCTION
1. In this action, Plaintiff Sharon Smith seeks monetary, declaratory, and

injunctive relief for housing discrimination based on Defendants’ refusal to provide a

 

 

 

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reasonable accommodation for her. Ms. Smith requested an accommodation from
Defendants to allow her to keep a medically-prescribed animal in her unit. Ms. Smith
provided a letter from her psychiatrist to Defendants confirming her need for the
animal. Despite this, Defendants denied and continue to deny Ms. Smith’s request.
Moreover, Defendants are interfering with Ms. Smith’s fair housing rights by serving
her with a Three-Day Notice to Perform Covenant or Quit demanding that she remove
her companion animal from the apartment. Now, therefore, Ms. Smith brings forth this
lawsuit to enforce her rights to be free from discrimination based on her disability.

Il. JURISDICTION AND VENUE

2. This Court has jurisdiction pursuant to 42 U.S.C. § 3613 and 28 U.S.C. §§
1331 and 1343. This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367
to hear and determine Plaintiff's state law claims because they are related to her federal
claims and arise out of a common nucleus of operative facts. Plaintiffs state and
federal claims form part of the same case or controversy under Article III of the United
States Constitution.

3. This Court has personal jurisdiction over Defendants because Defendants
own and operate property in the forum state as a business, which establishes sufficient
minimum contacts with the forum state. International Shoe Co. v. Washington, 326
U.S. 310 (1945). Further, Defendants have conducted business through correspondence
originating from their state of residence to the forum state. McGee v. International Life
Insurance Co., 355 U.S. 220 (1957). Finally, this Court has long-arm authority over
Defendants pursuant to Cal. Code Civil P. § 410.10

4. Venue in this district is proper under 28 U.S.C. § 1391(b)(2) because all of
the acts or omissions giving rise to these claims occurred within the County of Los
Angeles, State of California.

5. This Court has authority to grant declaratory and injunctive relief as well

as compensatory and punitive damages pursuant to 42 U.S.C. §§ 3612(0)(3) and

 

 

 

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3613(c)(1), and 28 U.S.C. §§ 2201 and 2202. The Court also has the authority to award
reasonable attorneys’ fees and costs to a prevailing party pursuant to 42 U.S.C. §
3613(c)(2).

Ii. PARTIES

6. Plaintiff Sharon Smith is an individual with disabilities that qualify her as
disabled under the federal Fair Housing Act, the state Fair Employment and Housing
Act, California Disabled Persons Act, and the California Unruh Civil Rights Act. Ms.
Smith leases unit #4 at 4205 Degnan Boulevard, Los Angeles, California 90008
(“subject property”). Ms. Smith has lived at the subject property since June 2012.

7. Upon information and belief, Defendants Harold and Zelma Powdrill are
individuals who own the subject property as a residential apartment building.
Defendant Zelma Powadrill is the person who is responsible for granting or denying
requests for accommodations at the subject property. While Defendants reside in
Texas, Defendants have directly corresponded with Plaintiff and Plaintiffs
representatives. Defendants act through their agents, Valerie and Phillip Powdrill, to
manage the property locally.

IV. FACTUAL ALLEGATIONS

8. Plaintiff Smith is a person with multiple disabilities including, but not
limited to, carpal tunnel syndrome, severe adjustment disorder, pain disorder, and
insomnia. Approximately one year ago, Ms. Smith suffered a work-related injury,
which caused her to undergo surgery on both hands. She has not fully recovered
physically. In addition to her physical disabilities, Ms. Smith suffers from mental
disabilities. The prolonged rehabilitation has exacerbated the symptoms of her mental
disabilities. To alleviate the symptoms of her disabilities, Ms. Smith uses an emotional
support dog.

9. On or around May 15, 2012, Ms. Smith viewed the subject property with
Phillip, Defendants’ son who manages the property. Despite having offers at other

 

 

 

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rental units, Ms. Smith turned down other units to rent at the subject property. Ms.
Smith wanted this particular unit because of its proximity to her family and her church
and because its price was within her limited income.

10. After deciding to rent the unit, Ms. Smith paid the security deposit. Ms.
Smith informed Phillip that she had an emotional support animal. Phillip stated that
Ms. Smith could keep the dog. Phillip, however, informed Ms. Smith that he did not
want Defendants to know about the dog. Ms. Smith had not seen nor signed a lease
agreement at this time.

11. Onor around June 2, 2012, Ms. Smith met with Phillip and Valerie.
Phillip provided Ms. Smith a lease agreement to sign. At this meeting, Valerie saw the
animal and questioned why Ms. Smith had it. Ms. Smith informed Valerie that Phillip
had allowed her to keep the animal. Valerie allowed Ms. Smith to keep the dog.

12. Ms. Smith signed the agreement a few days later. Before signing the
agreement, however, Ms. Smith noticed that one of the prewritten terms of the
agreement stated that no pets are allowed on the subject property. Ms. Smith proceeded
to sign the rental agreement but did not initial the page with the no pet provision.

13. Ms. Smith asked Phillip to change the lease terms because she was keeping
an emotional support animal in her unit. Phillip continued to reassure Ms. Smith that
her possession of the dog was not a problem, but not to inform Defendants. On July 2,
2012, for example, Phillip sent a text message to Ms. Smith stating, “keep the dog on
the down low”.

14. Ms. Smith was uncomfortable with Phillip's proposed arrangement. On or
around July 12, 2012, Ms. Smith sent a letter to Defendants that introduced herself as
their tenant. The letter included a reasonable accommodation request to keep her
emotional support dog. Ms. Smith enclosed a letter from her psychiatrist confirming
her need for the emotional support dog. Ms. Smith’s psychiatrist prescribed her the

emotional support dog as “necessary for her continued stabilization.”

 

 

 

COMPLAINT
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15. Onor around July 16, 2012, Defendants responded to Ms. Smith’s request.
Defendant Zelma Powdrill wrote a letter that included a “Three-Day Notice to Perform
Conditions and Covenants or Quit” to remove the dog. Defendants did not engage in an
interactive process with Ms. Smith. Defendants unilaterally determined that the request
was unreasonable and denied it.

16. Ms. Smith received the aforementioned letter and Three-Day Notice on
July 21, 2012.

17. On July 23, 2012, Ms. Smith sought the assistance of the Housing Rights
Center (“HRC”). Ms. Smith spoke with HRC Case Analyst Gabriela Garcia. Ms.
Garcia assisted Ms. Smith with her a request for a reasonable accommodation based on
Ms. Smith’s disabilities.

18. On July 24, 2012, Ms. Garcia called Defendant Zelma Powdrill to renew
the accommodation request on Ms. Smith’s behalf. Ms. Garcia informed Defendant
Zelma Powdrill that Ms. Smith is making this request based on her disabilities.
Defendant Zelma Powdrill acknowledged that she had received Ms. Smith’s letter and
the attached doctor’s letter. Defendant Zelma Powdrill dismissed Ms. Smith’s
psychiatrist’s letter and denied the request a second time. Furthermore, Defendant
Zelma stated that “dogs are meant to be kept outside” and, “I want [Ms. Smith] out of
the unit.”

19. Defendants have repeatedly denied her request to an accommodation for
her emotional support animal. Ms. Smith is in danger of losing her housing based on
the fact that she uses a medically necessary emotional support animal. Accordingly,
Ms. Smith has no recourse, but to file this lawsuit to enforce and vindicate her rights.

20. Asaresult of Defendants’ actions, Ms. Smith has suffered emotional
injury, including but not limited to the fear and anxiety of losing her housing,
confusion, humiliation, and increased stress. Ms. Smith has lost her civil right to be

free from housing discrimination based on her disability.

 

 

 

COMPLAINT
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Vv. CLAIMS FOR RELIEF
First Claim - Fair Housing Act

21. Plaintiff herein realleges and incorporates by reference all the previous
paragraphs in this Complaint.

22. Defendants, by a pattern or practice of illegal discrimination, have violated
the Fair Housing Act, 42 U.S.C. § 3601, et seq., by discriminating against Ms. Smith,
an individual with physical and mental disabilities, in the following ways:

a. Refusal to provide a reasonable accommodation in violation of 42
U.S.C. § 3604(f)(3)(B);

b. Otherwise making a dwelling unavailable in violation of 42 U.S.C. §
3604(f)(1);

C. Interfered with persons in the exercise or enjoyment of rights
guaranteed by the Fair Housing Act, in violation of 42 U.S.C. §
3617.

d. Interfered with persons in the exercise or enjoyment of rights
guaranteed by the Fair Housing Act, in violation of 42 U.S.C. §
3617.

Second Claim — California Fair Employment and Housing Act

23. Plaintiff herein realleges and incorporates by reference all previous
paragraphs in this Complaint.

24. Defendants violated the California Fair Employment and Housing Act,
Cal. Gov’t Code §§ 12926-95, by discriminating against Ms. Smith through the
following acts:

e. Refusing to provide a reasonable accommodation in violation of Cal.
Gov’t Code §§ 12955 and 12927;
f. Discriminating because of disability in violation of Cal. Gov’t Code

§§ 12955(a) and (d);

 

COMPLAINT
-6-

 
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g. Otherwise making unavailable or denying a dwelling based on
discrimination because of disability in violation of Cal. Gov’t Code
§ 12955(k);

h. Interfered with persons in the exercise or enjoyment of rights

guaranteed by the Fair Employment and Housing Act, in violation of

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Cal. Gov’t Code § 12955.8.
Third Claim - California Disabled Persons Act

25. Plaintiff herein realleges and incorporates by reference all the previous
paragraphs in this Complaint.

26. In committing the acts herein alleged, Defendants have engaged in a
practice of unlawful discrimination in the operation of the subject property based on
disability against Ms. Smith, and therefore have discriminated against Ms. Smith in
violation of the California Disabled Persons Act, Cal. Civil Code § 54 et seq.

Fourth Claim - California Unruh Civil Rights Act

27. Plaintiff herein realleges and incorporates by reference all the previous
paragraphs in this Complaint.

28. In committing the acts herein alleged, Defendants have engaged in a
practice of unlawful discrimination in the operation of the subject property based on
disability against Ms. Smith, and therefore have discriminated against Ms. Smith in
violation of the California Unruh Civil Rights Act, Cal. Civil Code § 51 et seq.

Fifih Claim - Negligence

29. Plaintiff herein realleges and incorporates by reference all the previous
paragraphs in of this Complaint.

30. Defendants owed Plaintiff a duty to operate the subject property in a
manner that was free from unlawful discrimination and to employ, train, and supervise
their directors, employees, agents, and themselves to fulfill that duty. Defendants

breached that duty by refusing to provide a required accommodation.

 

COMPLAINT
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31. Defendants’ negligence includes but is not limited to:

a. Defendants’ negligent failure to train its employees and agents
regarding the requirements of federal and state fair housing laws;

b. Defendants’ negligent failure to hire persons who were familiar with
the requirements of federal and state fair housing laws;

C. Defendants’ negligent failure to supervise themselves and their
employees regarding compliance with the requirements of federal
and state fair housing laws;

d. Defendants’ negligent failure to discipline or terminate employees,
who failed to comply with the requirements of federal and state fair
housing laws; and

e. Defendants’ negligent failure to operate the subject property in
conformity with accepted industry custom and standards.

VI. PRAYER FOR RELIEF

Plaintiff prays this Court enter judgment as follows:

1. Declare that the discriminatory practices of the Defendants, as set forth
above, violate the Fair Housing Act, the Fair Employment and Housing Act, the
Disabled Persons Act, and the Unruh Civil Rights Act.

2. Enjoin Defendants to permit Ms. Smith to keep her emotional support
animal at the subject property as a reasonable accommodation.

3.  Enjoin Defendants, its agents, employees, successors, and all other persons
in active concert or participation with any of the Defendants from continuing to
discriminate on the basis of disability against Ms. Smith or against any other person
who is a prospective or current resident homeowner or tenant at their properties in
violation of the above federal and state laws in any aspect of the occupancy of a

dwelling.

 

COMPLAINT
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Case 2:12-cv-06388-DDP-RZ Document1 Filed 07/25/12 Page9of13 Page ID #:12

4, Order that Defendants provide equal housing opportunities to all
prospective and in-place resident homeowners and tenants, engage in comprehensive
fair housing training, and submit to monitoring of their practices and records in order to
ensure compliance with the fair housing laws.

5. Award compensatory damages to Plaintiff.

6. Award statutory damages to Plaintiff under the California Unruh Civil
Rights Act.

7. Award punitive damages to Plaintiff.

8. Award any other such damages as may be allowed under all the above
federal and state laws.

9. Award to Plaintiff her reasonable attorneys’ fees and costs in this action.

10. Award all such other relief as the Court deems just.

Dated: July 25, 2012 Respectfully Submitted,

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JUDITH B. VASAN
Attorney for Plaintiff

 

 

COMPLAINT
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Dean D. Pregerson and the assigned
discovery Magistrate Judge is Ralph Zarefsky.

The case number on all documents filed with the Court should read as follows:

CV12- 6388 DDP (RZx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[Xx] Western Division L] Southern Division L] Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:12-cv-06388-DDP-RZ Document1 Filed 07/25/12 Page 1lof13 Page ID#:14

DAVID ELDER (SBN 171510)
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JUDITH B. VASAN (SBN 278115)

520 S. Virgil Ave., Suite 400, Los Angeles, CA 90020
Phone: (213) 387-8400 x32 Fax (213) 381-8555

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

SHARON SMITH, an individual, CASE NUMBER
PLAINTIFF(S) 3
v. a . @f porez.|
HAROLD POWDRILL and ZELMA POWDRILL, as = J
individuals,
SUMMONS
DEFENDANT(S).

 

 

TO: DEFENDANT(S):

 

A lawsuit has been filed against you.

Within 21 _ days after service of this summons on you (not counting the day you received it), you

 

must serve on the plaintiff an answer to the attached Mf complaint O amended complaint

C counterclaim 0 cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, DAVID ELDER , whose address is
520 S. Virgil Ave., Suite 400, Los Angeles, CA 90020 . If you fail to do so,

 

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

JUL 25 2012

Dated:

 

 

 

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-01A (12/07) SUMMONS
Case 2:12-cv-06388-DDP-RZ Document1 Filed 07/25/12 Page 12o0f13 Page ID #:15

UNITED STATLw DISTRICT COURT, CENTRAL DISTRICT G. CALIFORNIA
CIVIL COVER SHEET

 

I (a) PLAINTIFFS (Check box if you are representing yourself 1)
SHARON SMITH, an individual

DEFENDANTS
HAROLD POWDRILL and ZELMA POWDRILL, as individuals

 

 

(b) Attomeys (Firm Name, Address and Telephone Number. If you are representing
yourself, provide same.)

HOUSING RIGHTS CENTER, INC.

520 S. Virgil Avenue, Suite 400, Los Angeles, CA 90020
TEL: 213-387-8400 x32 / FAX: (213) 381-8555

Attorneys (If Known)

 

 

 

Il. BASIS OF JURISDICTION (Place an X in one box only.) IL. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
O1U:S. Government Plaintiff 43 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party) Citizen of This State O1 O11 Incorporated or Principal Place O4 O4
of Business in this State
112U.S. Government Defendant 4 Diversity (Indicate Citizenship | Citizen of Another State (12 ©2 Incorporated and Principal Place O5 O5
of Parties in Item IT) of Business in Another State
Citizen or Subject of a Foreign Country 3 03 Foreign Nation O6 O6

 

 

IV. ORIGIN (Place an X in one box only.)

WI Original 2 Removed from £13 Remanded from 14 Reinstatedor (15 Transferred from another district (specify): 06 Multi- O17 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: M Yes [3 No (Check ‘Yes’ only if demanded in complaint.)
( MONEY DEMANDED IN COMPLAINT: $

CLASS ACTION under F.R.C.P. 23: 0 Yes No

 

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
This action arises under the Federal Fair Housing Act, 42 U.S.C. §§ 3601-3619

 

VI. NATURE OF SUIT (Place an X in one box only.)

 

. OTHER STATUTES CONTRACT TORTS “TORTS: | PRISONER LABOR
(1400 State Reapportionment |(1 110 Insurance PERSONAL INJURY PERSONAL - PETITIONS 0710 Fair Labor Standards
11410 Antitrust 0120 Marine 0310 Airplane PROPERTY 0510 Motions to Act
C1 430» Banks and Banking 01130 Miller Act (1315 Airplane Product |(] 370 Other Fraud Vacate Sentence | 720 Labor/Mgmt.
1450 Commerce/ICC 1140 Negotiable Instrument Liability (0 371 Truth in Lending Habeas Corpus Relations
Rates/etc. 1150 Recovery of (3320 Assault, Libel & |7380 Other Personal {11530 General 1730 Labor/Mgmt.
(1460 Deportation Overpayment & Slander , Property Damage JD) 535 Death Penalty Reporting &
(1470 Racketeer Influenced Enforcement of 0 330 Fed. Employers 11385 Property Damage | 540 Mandamus/ Disclosure Act
and Corrupt Judgment Alen ee Product Liability Other 1740 Railway Labor Act
Organizations 1151 Medicare Act (345 Marine Product BANKRUPTCY 0550 Civil Rights 01790 Other Labor
(1480 Consumer Credit (1152 Recovery of Defaulted Liability (0422 Appeal 28 USC |01 555. Prison Condition Litigation
490 Cable/Sat TV Student Loan (Excl. 1350 Motor Vehicle 158 FORFEITURE/ 01791 Empl. Ret. Inc
0810 Selective Service Veterans) 41355. Motor Vehicle 423 Withdrawal 28 PENALTY Security Act
(0 850 Securities/Commodities/|D 153 Recovery of Product Liability USC 157 01610 Agriculture PROPERTY RIGHTS
Exchange Overpayment of (1360 Other Personal CIVIL RIGHTS 11620 Other Food& {1 820 Copyrights
(1.875 Customer Challenge 12 Veteran’s Benefits Injury 0441 Voting Drug 0 830 Patent
USC 3410 160 Stockholders’ Suits 11362 Personal Injury. |GA42 Employment 11625 Drug Related (1840 Trademark
[1 890 Other Statutory Actions {01 190 Other Contract Med Malpractice 443 Housing/Acco- Seizure of SOCIAL SECURITY
0891 Agricultural Act 01195 Contract Product (1365 Personal Injury- mmodations Property 21 USC JO 861 HIA (1395ff)
(1 892 Economic Stabilization Liability Product Liability | 444 Welfare 881 0 862 Black Lung (923)
Act (196 Franchise [1368 Asbestos Personal [0445 American with |0 630 Liquor Laws 0 863 DIWC/DIWW
(1 893 Environmental Matters REAL PROPERTY Injury Product Disabilities - 0640 RR. & Truck (405(g))
1.894 Energy Allocation Act |(1 210 Land Condemnation Liability Employment 0650 Airline Regs 0864 SSID Title XVI
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£1900 Appeal of Fee Determi- | 230 Rent Lease & Ejectment | 462 Naturalization Disabilities - Safety /Health FEDERAL TAX SUITS
nation Under Equal 0240 Torts to Land Application Other 01690 Other 0870 Taxes (US. Plaintiff
Access to Justice 11245 Tort Product Liability |"1463 Habeas Corpus- [7] 440 Other Civil or Defendant)
(7950 Constitutionality of 1290 All Other Real Property Alien Detainee | Rights 1871 IRS-Third Party 26
State Statutes (1465 Other Immigration USC 7609
Actions

 

 

 

 

 

 

FOR OFFICE USE ONLY:
AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

Case Number:

 

 

CG

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CV-71

(05/08)

CIVIL COVER SHEET

Page | of 2
Case 2:12-cv-06388-DDP-RZ Document1 Filed 07/25/12 Page 13 0f13 Page ID #:16

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT G1 CALIFORNIA
CIVIL COVER SHEET

VI(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? WNo Yes
If yes, list case number(s):

 

VII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No 0 Yes

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Civil cases are deemed related if a previousty filed case and the present case:
(Check all boxes that apply) OA. Arise from the same or closely related transactions, happenings, or events; or
COB. Call for determination of the same or substantially related or similar questions of law and fact, or
COC. For other reasons would entail substantial duplication of labor if heard by different judges, or
COD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
CQ Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:* California County outside of this District; State, if other than California, or Foreign Country

 

Los Angeles N/A

 

(b) List the County in this District, California County outside of this District; State if other than California, or Foreign Country, in which EACH named defendant resides.
(Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

 

County in this District: * California County outside of this District; State, if other than California; or Foreign Country
Los Angeles County N/A
Los Angeles County N/A

 

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District; State, if other than California, or Foreign Country

 

Los Angeles County N/A

 

 

 

 

anta Barbara, or San Luis Obispo Counties
involved

* Los Angeles, Orange, San Bernardino, Riverside, Ventura
Note: In land condemnation cases, use the location of the tract

   

X. SIGNATURE OF ATTORNEY (OR PRO PER): Date 9) / Zz 3/ 1

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor'supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U.S.C. (g))

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
